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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ROBERT W. RAINWATER, Bar #67212
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    ALBERTO ESTRADA PEREZ
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:07-cr-00016 AWI
                                                     )
12                            Plaintiff,             )   STIPULATION TO CONTINUE MOTIONS
                                                     )   SCHEDULE; AND ORDER THEREON
13          v.                                       )
                                                     )   Date: July 23, 2007
14   ALBERTO ESTRADA PEREZ,                          )   Time: 9:00 a.m.
           aka Saul Mora Cruz,                       )   Judge: Hon. Anthony W. Ishii
15         aka Saul Cruz Mora,                       )
           aka “Beto,”                               )
16   JESUS GONZALEZ PEREZ,                           )
           aka “Jesse,”                              )
17   JUAN LUIS ALEMAN,                               )
           and                                       )
18   JOSE EFRAIN RANGEL-GARCIA,                      )
                                                     )
19                            Defendants.            )
20
21          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
22   counsel that a new motions schedule be set as follows: motions in the above-captioned matter shall be
23   filed on or before June 29, 2007, responses shall be filed on or before July 16, 2007, and the hearing on
24   motions shall remain the same.
25          The grounds for the continuance are further defense preparation and investigation, and to allow the
26   parties additional time for negotiation. The requested continuance will conserve time and resources for all
27   parties and the court.
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
3    and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A), and
4    3161(h)(8)(B)(i) and (iv).
5                                                                     McGREGOR W. SCOTT
                                                                      United States Attorney
6
7    DATED: June 29, 2007                                       By: /s/ Karen A. Escobar
                                                                   KAREN A. ESCOBAR
8                                                                  Assistant United States Attorney
                                                                   Attorney for Plaintiff
9
10                                                                    DANIEL J. BRODERICK
                                                                      Federal Public Defender
11
12   DATED: June 29, 2007                                       By:    /s/ Robert W. Rainwater
                                                                      ROBERT W. RAINWATER
13                                                                    Assistant Federal Defender
                                                                      Attorneys for Defendant
14                                                                    ALBERTO ESTRADA PEREZ
15
                                                       ORDER
16
             IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(F),
17
     3161(h)(8)(A), and 3161(h)(8)(B)(i) and (iv).
18
     IT IS SO ORDERED.
19
     Dated:      June 29, 2007                            /s/ Anthony W. Ishii
20   0m8i78                                         UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Motions Schedule;
     [Proposed] Order Thereon                              -2-
